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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,

                Plaintiff,
                                                     No. 1:25-cv-00168-GBW
           v.

 KPLER HOLDING SA,

                Defendant.

                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on March 21, 2025, true and correct copies of (i)

Defendant Kpler Holding SA’s Responses and Objections to Plaintiff’s First Set of Interrogatories

to Defendant, (ii) Defendant Kpler Holding SA’s Responses and Objections to Plaintiff’s First Set

of Requests for Admission (Nos. 1-9), (iii) Defendant Kpler Holding SA’s Responses and

Objections to Plaintiff’s First Set of Requests for Production of Documents, and (iv) Defendant

Kpler Holding SA’s Responses and Objections to Plaintiff’s Second Set of Requests for Production

of Documents were served on the following counsel via electronic mail:

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Dated: March 21, 2025




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